                    Case 2:24-mj-00059-DM Document 6 Filed 04/25/24 Page 1 of 1

AO 4664 (Rev l2ll 7) Waiver of Rule 5 & 5. I Hearings (Cornplaint or Indictment)



                                         Uxrrpo Srarps Drsrrucr CoURT
                                                                           for the
                                                            Eastern District of Louisiana


                  United States of America                                    )
                                                                              )      Case No. 24-59 MAG
                                                                              )
                   MATTHEW MATULICH
                                                                              )
                                                                              )
                                                                                     Charging District's Case No. 124-mi-00124
                             Defendant                                        )

                                                  WAIVER OF RULE 5 & 5.1 HEARINGS
                                                       (Complaint or Indictment)

          I understand that I have been charged in another district, the fuante o/other cour-t)                         District of Columbia


          I have been informed of the charges and of my rights to:

          (1)        retain counsel or request the assignment of counsel if I am unable to retain counsel;

          (2)        an identity hearing to determine whether I am the person named in the charges;

          (3)        production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

          (4)        a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                     committed, to be held within l4 days of my first appearance if I arn in custody and 2l days otherwise,
                     unless I have been indicted beforehand.

          (5)        a hearing on any motion by the government for detention

          (6)        request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:

          c          an identity hearing and production of the warrant.

          c          a preliminary hearing.

          D          a detention hearing.

                     an identity hearing. production of the judgment, warrant, and warrant application, and any preliminary
                     or detention hearing to which I may be-entitled in this district. I request that my
                     O,{elirninary hearing and/or El-d-etention hearing be held in the prosecuting district, at a time set by
                     that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.



Date
                                                                                                        's signatLtr?




                                                                                                 of de;fe ndan t's a llo rne y



                                                                                             name of de.[endant's dllorne))
